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            EXHIBIT “A”
        Case 1:21-cv-00218-LAG Document 1-1 Filed 12/02/21 Page 2 of 64




                                                                   Mailing Address
                                                                   P.O. Box 2602
                                                                   Grand Rapids MI 49501-2602




       Insured: GROWING PROPERTIES LLC
Policy Number: 0021256067
Claim Number: 7003318063-1
     Loss Date: 8/10/2021
   Policy Term: 12 Months


              Attached is a Certified true copy of the information sent to the insured.

              Attached is a Certified true copy of the Declaration page, policy back and
              endorsements.

         ✔    Attached is a Certified true copy of the Declaration page. The attached policy
              back and endorsements did not mail with the declaration, but are included as
              requested.

              Attached is a Certified true copy of the Declaration page only.

              Attached is a Certified true copy of the Cancellation notice.



Documents including “Sample” or “Copy” watermarks are authentic copies and represent what was
sent to the insured. These watermarks are placed on the document when they are stored digitally.

Any additional Declaration Sheet(s) included with these documents labeled as “change or change-
misc.” may reflect a mid-term change in the policy and therefore a time period less than the original
policy term, however the dates reflect the most current policy information on file, up to and including
the date of loss for the above-referenced claim.
                                    Case 1:21-cv-00218-LAG Document 1-1 Filed 12/02/21 Page 3 of 64



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0257*$*((
6287+*(25*,$%$1.,1*
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$6+%851*$

6(&7,21,&29(5$*(6                             $028172),1685$1&(          $'' /5(7851           $118$/
                                                                               35(0,80             35(0,80

$         ':(//,1*                                                      
&         3(5621$/3523(57<                                             
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6(&7,21,/266(6$5(68%-(&772$'('8&7,%/(2)  $//3(5,/6



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1$0(',1685('     *52:,1*3523(57,(6//&                                                           3$*(2)
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6(&7,21,,&29(5$*(6                       /,0,72)/,$%,/,7<                $'' /5(7851           $118$/
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)         35(0,6(6/,$%,/,7<                  ($$&&,'(17             
*         0(',&$/3$<0(176                         ($3(5621                           

',6&28176685&+$5*(67+$7$33/<72/2&$7,21                               $'' /5(7851           $118$/
                                                                               35(0,80             35(0,80

5(3$,5&267':(//,1*                                                         
0$6215<',6&2817                                                                   
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08/7,3/(3523(57,(6',6&2817                                                       
7(1$176&5((1,1*',6&2817                                                          
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                                                                 /2&$7,21$118$/35(0,80

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                                        ,03257$175$7,1*,1)250$7,21
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'(6&5,37,21       $/%$1<*$
&216758&7,21        0$6215<9(1((5      7(55,725<        $                 <5%8,/7     
)$0,/,(6                               3527&/$66                      )250          ')
2&&83$1&<           5(17$/              ,1&,7</,0,76   <(6
+<'5$17             :,7+,1)((7    &2817<           '28*+(57<
)LUH'HSW            :,7+,10,/(6

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6287+*(25*,$%$1.,1*
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6(&7,21,&29(5$*(6                             $028172),1685$1&(          $'' /5(7851           $118$/
                                                                               35(0,80             35(0,80

$         ':(//,1*                                                      
&         3(5621$/3523(57<                                             
'         /2662)5(176                                                  


6(&7,21,/266(6$5(68%-(&772$'('8&7,%/(2)  $//3(5,/6

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                                                                               35(0,80             35(0,80

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*         0(',&$/3$<0(176                         ($3(5621                           


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',6&28176685&+$5*(67+$7$33/<72/2&$7,21                               $'' /5(7851           $118$/
                                                                               35(0,80             35(0,80

5(3$,5&267':(//,1*                                                         
0$6215<',6&2817                                                                   
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08/7,3/(3523(57,(6',6&2817                                                       
7(1$176&5((1,1*',6&2817                                                          
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                                        ,03257$175$7,1*,1)250$7,21
35(0,6(6           '8,70$15'
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&216758&7,21        )5$0(               7(55,725<        $                 <5%8,/7     
)$0,/,(6                               3527&/$66                      )250          ')
2&&83$1&<           5(17$/              ,1&,7</,0,76   <(6
+<'5$17             :,7+,1)((7    &2817<           '28*+(57<
)LUH'HSW            :,7+,10,/(6


6(&7,21,&29(5$*(6                             $028172),1685$1&(          $'' /5(7851           $118$/
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$         ':(//,1*                                                      
&         3(5621$/3523(57<                                             
'         /2662)5(176                                                  

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6(&7,21,,&29(5$*(6                       /,0,72)/,$%,/,7<                $'' /5(7851           $118$/
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)         35(0,6(6/,$%,/,7<                  ($$&&,'(17             
*         0(',&$/3$<0(176                         ($3(5621                           

',6&28176685&+$5*(67+$7$33/<72/2&$7,21                               $'' /5(7851           $118$/
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5(3$,5&267':(//,1*                                                         
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08/7,3/(3523(57,(6',6&2817                                                       
7(1$176&5((1,1*',6&2817                                                          




)RUP                                 ,1685(' 6&23<
1$0(',1685('     *52:,1*3523(57,(6//&                                                              3$*(2)
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                                                                   /2&$7,21$118$/35(0,80

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                                        ,03257$175$7,1*,1)250$7,21
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&216758&7,21        )5$0(               7(55,725<        $                    <5%8,/7     
)$0,/,(6                               3527&/$66                         )250          ')
2&&83$1&<           5(17$/              ,1&,7</,0,76   <(6
+<'5$17             :,7+,1)((7    &2817<           :257+
)LUH'HSW            :,7+,10,/(6


6(&7,21,&29(5$*(6                             $028172),1685$1&(             $'' /5(7851           $118$/
                                                                                  35(0,80             35(0,80

$         ':(//,1*                                                         
&         3(5621$/3523(57<                                                
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6(&7,21,/266(6$5(68%-(&772$'('8&7,%/(2)  $//3(5,/6

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                                                                                  35(0,80             35(0,80

)         35(0,6(6/,$%,/,7<                  ($$&&,'(17                
*         0(',&$/3$<0(176                         ($3(5621                              

',6&28176685&+$5*(67+$7$33/<72/2&$7,21                                 $'' /5(7851           $118$/
                                                                                  35(0,80             35(0,80

5(3$,5&267':(//,1*                                                            
08/7,32/,&<',6&2817                                                                 
08/7,3/(3523(57,(6',6&2817                                                          
7(1$176&5((1,1*',6&2817                                                             




                                                                   /2&$7,21$118$/35(0,80

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                                        ,03257$175$7,1*,1)250$7,21
35(0,6(6           '8,70$15'
'(6&5,37,21       $/%$1<*$




)RUP                                 ,1685(' 6&23<
1$0(',1685('     *52:,1*3523(57,(6//&                                                          3$*(2)
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&216758&7,21        0$6215<9(1((5      7(55,725<        $                 <5%8,/7     
)$0,/,(6                               3527&/$66                      )250          ')
2&&83$1&<           5(17$/              ,1&,7</,0,76   <(6
+<'5$17             :,7+,1)((7    &2817<           '28*+(57<
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6(&7,21,&29(5$*(6                             $028172),1685$1&(          $'' /5(7851           $118$/
                                                                               35(0,80             35(0,80

$         ':(//,1*                                                      
&         3(5621$/3523(57<                                             
'         /2662)5(176                                                  

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)         35(0,6(6/,$%,/,7<                  ($$&&,'(17             
*         0(',&$/3$<0(176                         ($3(5621                           

',6&28176685&+$5*(67+$7$33/<72/2&$7,21                              $'' /5(7851           $118$/
                                                                               35(0,80             35(0,80

5(3$,5&267':(//,1*                                                         
0$6215<',6&2817                                                                   
08/7,32/,&<',6&2817                                                              
08/7,3/(3523(57,(6',6&2817                                                       
7(1$176&5((1,1*',6&2817                                                          
0$;',6&17(;&(('('$'-8670(17                                                     




                                                                /2&$7,21$118$/35(0,80

                                                   /2&$7,21
                                        ,03257$175$7,1*,1)250$7,21
35(0,6(6           '8,70$15'
'(6&5,37,21       $/%$1<*$
&216758&7,21        )5$0(               7(55,725<        $                 <5%8,/7     
)$0,/,(6                               3527&/$66                      )250          ')
2&&83$1&<           5(17$/              ,1&,7</,0,76   <(6
+<'5$17             :,7+,1)((7    &2817<           '28*+(57<
)LUH'HSW            :,7+,10,/(6


6(&7,21,&29(5$*(6                             $028172),1685$1&(          $'' /5(7851           $118$/
                                                                               35(0,80             35(0,80

$         ':(//,1*                                                      
&         3(5621$/3523(57<                                             
)RUP                                 ,1685(' 6&23<
1$0(',1685('     *52:,1*3523(57,(6//&                                                          3$*(2)
32/,&<180%(5
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'         /2662)5(176                                                  

6(&7,21,/266(6$5(68%-(&772$'('8&7,%/(2)  $//3(5,/6

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                                                                               35(0,80             35(0,80

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',6&28176685&+$5*(67+$7$33/<72/2&$7,21                              $'' /5(7851           $118$/
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5(3$,5&267':(//,1*                                                         
08/7,32/,&<',6&2817                                                              
08/7,3/(3523(57,(6',6&2817                                                       
7(1$176&5((1,1*',6&2817                                                          




                                                                /2&$7,21$118$/35(0,80

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                                        ,03257$175$7,1*,1)250$7,21
35(0,6(6           6866(;&7
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&216758&7,21        0$6215<9(1((5      7(55,725<        $                 <5%8,/7     
)$0,/,(6                               3527&/$66                      )250          ')
2&&83$1&<           5(17$/              ,1&,7</,0,76   <(6
+<'5$17             :,7+,1)((7    &2817<           '28*+(57<
)LUH'HSW            :,7+,10,/(6

0257*$*((
6287+*(25*,$%$1.,1*
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6(&7,21,&29(5$*(6                             $028172),1685$1&(          $'' /5(7851           $118$/
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$         ':(//,1*                                                     
&         3(5621$/3523(57<                                             
'         /2662)5(176                                                 


6(&7,21,/266(6$5(68%-(&772$'('8&7,%/(2)  $//3(5,/6

6(&7,21,,&29(5$*(6                       /,0,72)/,$%,/,7<                $'' /5(7851           $118$/
                                                                               35(0,80             35(0,80

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)RUP                                 ,1685(' 6&23<
1$0(',1685('     *52:,1*3523(57,(6//&                                                                3$*(2)
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*         0(',&$/3$<0(176                            ($3(5621                              

',6&28176685&+$5*(67+$7$33/<72/2&$7,21                                    $'' /5(7851           $118$/
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5(3$,5&267':(//,1*                                                               
0$6215<',6&2817                                                                         
08/7,32/,&<',6&2817                                                                    
08/7,3/(3523(57,(6',6&2817                                                             
7(1$176&5((1,1*',6&2817                                                                
0$;',6&17(;&(('('$'-8670(17                                                           




                                                                      /2&$7,21$118$/35(0,80

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                                        ,03257$175$7,1*,1)250$7,21
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&216758&7,21        )5$0(                  7(55,725<        $                    <5%8,/7     
)$0,/,(6                                  3527&/$66      %                   )250          ')
2&&83$1&<           5(17$/                 ,1&,7</,0,76   <(6
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)LUH'HSW            :,7+,10,/(6

0257*$*((
6287+*(25*,$%$1.,1*
&203$1<
32%2;
$6+%851*$

6(&7,21,&29(5$*(6                                $028172),1685$1&(             $'' /5(7851           $118$/
                                                                                     35(0,80             35(0,80

$         ':(//,1*                                                            
&         3(5621$/3523(57<                                                   
'         /2662)5(176                                                        


6(&7,21,/266(6$5(68%-(&772$'('8&7,%/(2)  $//3(5,/6

6(&7,21,,&29(5$*(6                          /,0,72)/,$%,/,7<                   $'' /5(7851           $118$/
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)         35(0,6(6/,$%,/,7<                     ($$&&,'(17                
*         0(',&$/3$<0(176                            ($3(5621                              

',6&28176685&+$5*(67+$7$33/<72/2&$7,21                                    $'' /5(7851           $118$/
                                                                                     35(0,80             35(0,80

5(3$,5&267':(//,1*                                                               
)RUP                                    ,1685(' 6&23<
1$0(',1685('     *52:,1*3523(57,(6//&                                                             3$*(2)
32/,&<180%(5
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08/7,32/,&<',6&2817                                                                 
08/7,3/(3523(57,(6',6&2817                                                          
7(1$176&5((1,1*',6&2817                                                             




                                                                   /2&$7,21$118$/35(0,80

                                                   /2&$7,21
                                        ,03257$175$7,1*,1)250$7,21
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'(6&5,37,21       6</9(67(5*$
&216758&7,21        0$6215<9(1((5      7(55,725<        $                    <5%8,/7     
)$0,/,(6                               3527&/$66                         )250          ')
2&&83$1&<           5(17$/              ,1&,7</,0,76   <(6
+<'5$17             :,7+,1)((7    &2817<           :257+
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6(&7,21,&29(5$*(6                             $028172),1685$1&(             $'' /5(7851           $118$/
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$         ':(//,1*                                                        
&         3(5621$/3523(57<                                               


)RUP                                   $*(17 6&23<
1$0(',1685('     *52:,1*3523(57,(6//&                                                           3$*(2)
32/,&<180%(5
                        Case 1:21-cv-00218-LAG
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'         /2662)5(176                                                  

6(&7,21,/266(6$5(68%-(&772$'('8&7,%/(2)  $//3(5,/6

6(&7,21,,&29(5$*(6                       /,0,72)/,$%,/,7<                $'' /5(7851           $118$/
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)         35(0,6(6/,$%,/,7<                  ($$&&,'(17             
*         0(',&$/3$<0(176                         ($3(5621                           

',6&28176685&+$5*(67+$7$33/<72/2&$7,21                               $'' /5(7851           $118$/
                                                                               35(0,80             35(0,80

0$6215<',6&2817                                                                   
08/7,32/,&<',6&2817                                                              
08/7,3/(3523(57,(6',6&2817                                                       
7(1$176&5((1,1*',6&2817                                                          
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5(3$,5&267':(//,1*                                                         




                                                                 /2&$7,21$118$/35(0,80

                                                    /2&$7,21
                                        ,03257$175$7,1*,1)250$7,21
35(0,6(6           '8,70$15'
'(6&5,37,21       $/%$1<*$
&216758&7,21        0$6215<9(1((5      7(55,725<        $                 <5%8,/7     
)$0,/,(6                               3527&/$66                      )250          ')
2&&83$1&<           5(17$/              ,1&,7</,0,76   <(6
+<'5$17             :,7+,1)((7    &2817<           '28*+(57<
)LUH'HSW            :,7+,10,/(6

0257*$*((
6287+*(25*,$%$1.,1*
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6(&7,21,&29(5$*(6                             $028172),1685$1&(          $'' /5(7851           $118$/
                                                                               35(0,80             35(0,80

$         ':(//,1*                                                      
&         3(5621$/3523(57<                                             
'         /2662)5(176                                                  


6(&7,21,/266(6$5(68%-(&772$'('8&7,%/(2)  $//3(5,/6



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1$0(',1685('     *52:,1*3523(57,(6//&                                                           3$*(2)
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6(&7,21,,&29(5$*(6                       /,0,72)/,$%,/,7<                $'' /5(7851           $118$/
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)         35(0,6(6/,$%,/,7<                  ($$&&,'(17             
*         0(',&$/3$<0(176                         ($3(5621                           

',6&28176685&+$5*(67+$7$33/<72/2&$7,21                               $'' /5(7851           $118$/
                                                                               35(0,80             35(0,80

5(3$,5&267':(//,1*                                                         
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7(1$176&5((1,1*',6&2817                                                          
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                                        ,03257$175$7,1*,1)250$7,21
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&216758&7,21        0$6215<9(1((5      7(55,725<        $                 <5%8,/7     
)$0,/,(6                               3527&/$66                      )250          ')
2&&83$1&<           5(17$/              ,1&,7</,0,76   <(6
+<'5$17             :,7+,1)((7    &2817<           '28*+(57<
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6(&7,21,&29(5$*(6                             $028172),1685$1&(          $'' /5(7851           $118$/
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$         ':(//,1*                                                      
&         3(5621$/3523(57<                                             
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6(&7,21,/266(6$5(68%-(&772$'('8&7,%/(2)  $//3(5,/6

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                                                                               35(0,80             35(0,80

)         35(0,6(6/,$%,/,7<                  ($$&&,'(17             
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)RUP                                   $*(17 6&23<
1$0(',1685('     *52:,1*3523(57,(6//&                                                           3$*(2)
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',6&28176685&+$5*(67+$7$33/<72/2&$7,21                               $'' /5(7851           $118$/
                                                                               35(0,80             35(0,80

5(3$,5&267':(//,1*                                                         
0$6215<',6&2817                                                                   
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08/7,3/(3523(57,(6',6&2817                                                       
7(1$176&5((1,1*',6&2817                                                          
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                                        ,03257$175$7,1*,1)250$7,21
35(0,6(6           '8,70$15'
'(6&5,37,21       $/%$1<*$
&216758&7,21        )5$0(               7(55,725<        $                 <5%8,/7     
)$0,/,(6                               3527&/$66                      )250          ')
2&&83$1&<           5(17$/              ,1&,7</,0,76   <(6
+<'5$17             :,7+,1)((7    &2817<           '28*+(57<
)LUH'HSW            :,7+,10,/(6


6(&7,21,&29(5$*(6                             $028172),1685$1&(          $'' /5(7851           $118$/
                                                                               35(0,80             35(0,80

$         ':(//,1*                                                      
&         3(5621$/3523(57<                                             
'         /2662)5(176                                                  

6(&7,21,/266(6$5(68%-(&772$'('8&7,%/(2)  $//3(5,/6

6(&7,21,,&29(5$*(6                       /,0,72)/,$%,/,7<                $'' /5(7851           $118$/
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)         35(0,6(6/,$%,/,7<                  ($$&&,'(17             
*         0(',&$/3$<0(176                         ($3(5621                           

',6&28176685&+$5*(67+$7$33/<72/2&$7,21                               $'' /5(7851           $118$/
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5(3$,5&267':(//,1*                                                         
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08/7,3/(3523(57,(6',6&2817                                                       
7(1$176&5((1,1*',6&2817                                                          




)RUP                                   $*(17 6&23<
1$0(',1685('     *52:,1*3523(57,(6//&                                                              3$*(2)
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                                                                   /2&$7,21$118$/35(0,80

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                                        ,03257$175$7,1*,1)250$7,21
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&216758&7,21        )5$0(               7(55,725<        $                    <5%8,/7     
)$0,/,(6                               3527&/$66                         )250          ')
2&&83$1&<           5(17$/              ,1&,7</,0,76   <(6
+<'5$17             :,7+,1)((7    &2817<           :257+
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6(&7,21,&29(5$*(6                             $028172),1685$1&(             $'' /5(7851           $118$/
                                                                                  35(0,80             35(0,80

$         ':(//,1*                                                         
&         3(5621$/3523(57<                                                
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6(&7,21,/266(6$5(68%-(&772$'('8&7,%/(2)  $//3(5,/6

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)         35(0,6(6/,$%,/,7<                  ($$&&,'(17                
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',6&28176685&+$5*(67+$7$33/<72/2&$7,21                                 $'' /5(7851           $118$/
                                                                                  35(0,80             35(0,80

5(3$,5&267':(//,1*                                                            
08/7,32/,&<',6&2817                                                                 
08/7,3/(3523(57,(6',6&2817                                                          
7(1$176&5((1,1*',6&2817                                                             




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                                        ,03257$175$7,1*,1)250$7,21
35(0,6(6           '8,70$15'
'(6&5,37,21       $/%$1<*$




)RUP                                   $*(17 6&23<
1$0(',1685('     *52:,1*3523(57,(6//&                                                          3$*(2)
32/,&<180%(5
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&216758&7,21        0$6215<9(1((5      7(55,725<        $                 <5%8,/7     
)$0,/,(6                               3527&/$66                      )250          ')
2&&83$1&<           5(17$/              ,1&,7</,0,76   <(6
+<'5$17             :,7+,1)((7    &2817<           '28*+(57<
)LUH'HSW            :,7+,10,/(6


6(&7,21,&29(5$*(6                             $028172),1685$1&(          $'' /5(7851           $118$/
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$         ':(//,1*                                                      
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',6&28176685&+$5*(67+$7$33/<72/2&$7,21                              $'' /5(7851           $118$/
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5(3$,5&267':(//,1*                                                         
0$6215<',6&2817                                                                   
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08/7,3/(3523(57,(6',6&2817                                                       
7(1$176&5((1,1*',6&2817                                                          
0$;',6&17(;&(('('$'-8670(17                                                     




                                                                /2&$7,21$118$/35(0,80

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                                        ,03257$175$7,1*,1)250$7,21
35(0,6(6           '8,70$15'
'(6&5,37,21       $/%$1<*$
&216758&7,21        )5$0(               7(55,725<        $                 <5%8,/7     
)$0,/,(6                               3527&/$66                      )250          ')
2&&83$1&<           5(17$/              ,1&,7</,0,76   <(6
+<'5$17             :,7+,1)((7    &2817<           '28*+(57<
)LUH'HSW            :,7+,10,/(6


6(&7,21,&29(5$*(6                             $028172),1685$1&(          $'' /5(7851           $118$/
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$         ':(//,1*                                                      
&         3(5621$/3523(57<                                             
)RUP                                   $*(17 6&23<
1$0(',1685('     *52:,1*3523(57,(6//&                                                          3$*(2)
32/,&<180%(5
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'         /2662)5(176                                                  

6(&7,21,/266(6$5(68%-(&772$'('8&7,%/(2)  $//3(5,/6

6(&7,21,,&29(5$*(6                       /,0,72)/,$%,/,7<                $'' /5(7851           $118$/
                                                                               35(0,80             35(0,80

)         35(0,6(6/,$%,/,7<                  ($$&&,'(17             
*         0(',&$/3$<0(176                         ($3(5621                           

',6&28176685&+$5*(67+$7$33/<72/2&$7,21                              $'' /5(7851           $118$/
                                                                               35(0,80             35(0,80

5(3$,5&267':(//,1*                                                         
08/7,32/,&<',6&2817                                                              
08/7,3/(3523(57,(6',6&2817                                                       
7(1$176&5((1,1*',6&2817                                                          




                                                                /2&$7,21$118$/35(0,80

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                                        ,03257$175$7,1*,1)250$7,21
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&216758&7,21        0$6215<9(1((5      7(55,725<        $                 <5%8,/7     
)$0,/,(6                               3527&/$66                      )250          ')
2&&83$1&<           5(17$/              ,1&,7</,0,76   <(6
+<'5$17             :,7+,1)((7    &2817<           '28*+(57<
)LUH'HSW            :,7+,10,/(6

0257*$*((
6287+*(25*,$%$1.,1*
32%2;
$6+%851*$

6(&7,21,&29(5$*(6                             $028172),1685$1&(          $'' /5(7851           $118$/
                                                                               35(0,80             35(0,80

$         ':(//,1*                                                     
&         3(5621$/3523(57<                                             
'         /2662)5(176                                                 


6(&7,21,/266(6$5(68%-(&772$'('8&7,%/(2)  $//3(5,/6

6(&7,21,,&29(5$*(6                       /,0,72)/,$%,/,7<                $'' /5(7851           $118$/
                                                                               35(0,80             35(0,80

)         35(0,6(6/,$%,/,7<                  ($$&&,'(17             

)RUP                                   $*(17 6&23<
1$0(',1685('     *52:,1*3523(57,(6//&                                                                3$*(2)
32/,&<180%(5
                        Case 1:21-cv-00218-LAG
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                                                      Document 1-1 Filed 12/02/21 Page 30 of 64
*         0(',&$/3$<0(176                            ($3(5621                              

',6&28176685&+$5*(67+$7$33/<72/2&$7,21                                    $'' /5(7851           $118$/
                                                                                     35(0,80             35(0,80

5(3$,5&267':(//,1*                                                               
0$6215<',6&2817                                                                         
08/7,32/,&<',6&2817                                                                    
08/7,3/(3523(57,(6',6&2817                                                             
7(1$176&5((1,1*',6&2817                                                                
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                                                                      /2&$7,21$118$/35(0,80

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                                        ,03257$175$7,1*,1)250$7,21
35(0,6(6           5('52&.5'
'(6&5,37,21       6</9(67(5*$
&216758&7,21        )5$0(                  7(55,725<        $                    <5%8,/7     
)$0,/,(6                                  3527&/$66      %                   )250          ')
2&&83$1&<           5(17$/                 ,1&,7</,0,76   <(6
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)LUH'HSW            :,7+,10,/(6

0257*$*((
6287+*(25*,$%$1.,1*
&203$1<
32%2;
$6+%851*$

6(&7,21,&29(5$*(6                                $028172),1685$1&(             $'' /5(7851           $118$/
                                                                                     35(0,80             35(0,80

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&         3(5621$/3523(57<                                                   
'         /2662)5(176                                                        


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)LUH'HSW            :,7+,10,/(6


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                                                                                  35(0,80             35(0,80

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&         3(5621$/3523(57<                       
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6(&7,21,,&29(5$*(6                       /,0,72)/,$%,/,7<                   $'' /5(7851           $118$/
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)         35(0,6(6/,$%,/,7<                  ($$&&,'(17
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)RUP                                        $*(17 6&23<
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  Foremost®
  Insurance
  Company



  Dwelling Fire Three Policy
                           y
  Landlord




                                              A Stock Company
                                              Home Office
                                              5600 Beech Tree Lane
                                              Caledonia, Michigan 49316
  Form 11003 03/06                            1-800-527-3905
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        DWELLING FIRE THREE POLICY
                LANDLORD
  Read the entire policy carefully to deter-          Definitions
  mine rights, duties, and what is and is not
  insured. Various provisions in this policy          Actual cash value means the amount it
  restrict coverage.                                  would cost to repair or replace insured
                                                      property with materials
                                                                           als available today of
  Words and phrases that appear in bold               like kind and quality,
                                                                       ality, less allowance for
  faced type have special meaning. Refer to           physical deterioration
                                                                    ioration and ddepreciation,
  the Definitions.                                    including obsolescence.
                                                                 bsolescence.
                                                      Bodily injury means physical inj   injury,
  Insuring Agreement                                  sickness,
                                                           ness, disease or death, caused by aan
                                                      accident,
                                                         cident, sustained by any person except
  With your payment of the premium, we
                                                      you.
  agree to provide only the Coverages,
  Amounts of Insurance and Limits of                  Business means any full or pa     part-time
  Liability you have selected as shown   n on         trade, profession or occupation eengaged in
  the Declarations Page. This is subject
                                     ect to all       for economic gain.
  policy terms and conditions. Thishis policy,        But business does not mmean the rental or
  which includes the Declarations
                                rations Page          holding for rental so
                                                                          solely for residential
  and endorsements, if any,ny, is the entire          purposes of any dwelling
                                                                        dw       or other struc-
  agreement between you ou and us regarding           ture described on
                                                                     o the Declarations Page.
  the insurance coverages
                     erages expressed in it           Earth movement
                                                             move       means all of the follow-
  and supersedes all previous agreements              ing items whether arising out of any act of
  regarding those
               ose coverages, either oral or          nature or human activity:
  written.
                                                          1.   Earthquake, including land shock
  We, us and our means the insurance                           waves or tremors before, during
  company                           Page.
    mpany named on the Declarations Page                       or after volcanic eruptions;
  You, your and yours means the per
                                  person,                 2.   Landslide;
  persons
      ons or organization named
                              name     on                 3.   Mudflow;
  the Declarations
        eclarations Page. You, your and
  yours alsoo means any family
                          fam   member                    4.   Earth sinking, rising or shifting;
                                                               or
  of the personn or persons named on the
  Declarations Page.
                 ge.                                      5.   Mine subsidence.
  In SECTION II — Your Liability                      Family member means a person who
  Coverages, you, your, and yours also                resides in your household and is related
  means any employees of the person,                  to you by blood, marriage or adoption.
  persons or organization named on the                Family member also means a ward or a
  Declarations Page for acts that occur on            foster child who resides in your household.
  the premises and are within the course of           Medical expenses means reasonable
  their employment.                                   charges for:

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      1.   Medical:                                       with new property of like kind and
      2.   Surgical;                                      quality using conventional materials
                                                          and construction methods which are
      3.   X-ray;
                                                          available at the time of the loss.
      4.   Dental;
                                                          But replacement cost does not mean
      5.   Ambulance;                                     loss, damage or increased loss caused
      6.   Hospital;                                      by enforcement of any governmental
      7.   Professional nursing;                          requirement regulating construction,
                                                                           cy renovation or
                                                          repair, occupancy,
      8.   Recognized religious methods of
                                                          remodeling.
           healing;
      9.   Prosthetic devices; or                         Coverage C - Personal Pro
                                                                                Property
      10. Funeral services.                                     ost to repair or replace property,
                                                          The cost                       pr
  Pollutant means any solid, liquid, gaseous                thout deduction for depreciation,
                                                          without                    depreciat
  or thermal irritant or contaminant, includ-             with new property of like kind an    and
  ing smoke, vapor, soot, fumes, acids,                   quality.
  alkalis, chemicals, metals, lead paint              Residence employee means an emplemployee
  components and compounds, and waste.     e.         of yours who performs duties in con-
                                        cled,
  Waste includes materials to be recycled,            nection with the maintenance or use of
                                     owever,
  reconditioned or reclaimed. However,                your premises, including household or
                                  ased by an
  irritants and contaminants released                 domestic services, or who performs duties
                               ises are not a
  accidental fire on your premises                    elsewhere of a simila
                                                                      similar nature not in con-
  pollutant.                                          nection with the business
                                                                       bu       of any of you.
  Premises means:
      1.             lling and other struc-
           The dwelling                               SECTION I — Your
           tures that are described on the            Property Coverages
                                                      Prope
              clarations Page;
           Declarations
      2.   The sidewalks, driveways or                Coverage A — Dwelling
                                                      Co
           other private approaches that              We insure:
           serve that dwelling and other
           structures; and                                1.   The dwelling that is described on
      3.   The grounds that are immed
                                immediately                    the Declarations Page;
           adjacent to that dwell
                              dwelling and                2.   Materials and supplies for use
           other structures.                                   in the construction, alteration or
  Property damage
               amage means direct physical                     repair of that dwelling located
  damage or destruction
                   uction oof tangible property                within or immediately adjacent
  of others, including
                     g lloss of its use, caused                to that dwelling; and
  by an accident.                                         3.   Any structure you own that is
  Replacement cost means:                                      attached to that dwelling, other
      Coverage A - Dwelling                                    than a structure attached only by
      Coverage B - Other Structures                            plumbing, utility line or similar
                                                               connection.
      The cost to repair or replace property,
      without deduction for depreciation,             But we do not insure:

  Form 11003 03/06                                2
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      1.   Fences;                                        2.   Machinery, tools, and equipment;
      2.   Land including any cost to repair,                  and
           rebuild, stabilize or otherwise                3.   Leased personal property for
           restore land on which the dwell-                    which you have a contractual
           ing is located either before or                     liability for loss.
           after a loss; or                           But we insure this property only if it is:
      3.   Loss, including damage or                      1.   Necessary for the residential
           remediation costs, caused by or                     occupancy of the dwelling
           resulting from the presence of                      described on the Declarations
           mold, mildew, or other fungi,                       Page;
           their secretions, and dry and wet
                                                          2.   In or on the dwelling described
           rot of any kind regardless of the
                                                               on the Declarations Page;
           cause, condition or loss that led to
           their formation or growth.                     3.   In the open within 100 fee
                                                                                      feet of
                                                               the dwelling described on th
                                                                                          the
  Coverage B — Other Structures                                Declarations Page; or
  We insure:                                              4.   In or on any other struct
                                                                                  structures
      1.   The other structures that are
                                       re                      described on the Decla
                                                                                Declarations
           described on the Declarations
                                    tions                      Page.
           Page; and                                  We do not insure:
      2.   Materials and supplieslies for use             1.   Aircraft and aany aircraft parts,
           in the construction,
                              n, alteration or                 equipment     and    accessories
           repair of thosee other structures                   including engines and motors;
           located within
                        hin or immediately                2.   Wate
                                                               Watercraft  and any watercraft
           adjacent to
                     o those other structures.                 pa
                                                               parts, equipment and accessories,
  But we do not insure:                                        including trailers, engines and
                                                               motors;
      1.   Land including any cost to repair,
           rebuild, stabilize or otherwise                3.   Motor vehicles, recreational land
           restore land on which the other                     motor vehicles, golf carts, all other
           structures are located either
                                       eithe                   motorized land conveyances and
           before or after a loss; or                          any vehicle or conveyance parts,
                                                               equipment and accessories.
      2.
      2    Loss, including damagedam         or
           remediation costs, cacaused by or                   We do insure vehicles or convey-
           resulting
             sulting from the presence of                      ances, other than golf carts and
           mold, mildew, or other fungi,                       recreational vehicles or convey-
           their secretions,
                   cretio and dry and wet                      ances, that are not subject to
           rot of any kind regardless of the                   motor vehicle registration and
           cause, condition or loss that led to                that are used solely for mainte-
           their formation or growth.                          nance of your premises.
                                                          4.   Property separately described
  Coverage C — Personal Property
                                                               and specifically insured in this or
  We insure:                                                   any other insurance policy;
      1.   Furnishings and appliances;                    5.   Camper bodies or trailers;

  Form 11003 03/06                                3
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      6.   Property held as a sample or for            1.   Debris Removal. We will pay the
           sale or delivery after sale; or                  actual, reasonable and necessary
      7.   Loss, including damage or                        cost for the removal of debris
           remediation costs, caused by or                  of insured property, other than
           resulting from the presence of                   trees, from your premises when
           mold, mildew, or other fungi,                    deposited by an Insured Peril that
           their secretions, and dry and wet                applies to the insured property.
           rot of any kind regardless of the                The debris removal cost is
           cause, condition or loss that led to             included in the Amount of
           their formation or growth.                       Insurance that applies to the
                                                            damaged  d property. If the amount
  Coverage D — Loss Of Rents
                                                            to be paid for the actu
                                                                                actual damage
  If an insured loss occurs at the dwelling                 to the property plus the debris
  described on the Declarations Page, we                    removal cost is more than the
  will pay for your loss of normal rents                    Amount of Insurance for th      the
  resulting from that insured loss while the                damaged property, an additional
  dwelling is not fit to live in or use, less                                         Insuran
                                                            5% of that Amount of Insurance
  charges and expenses that do not continue                 is available for debris remo
                                                                                    removal.
  during that time.
                                                            No deductible will app
                                                                               apply to this
  We will pay loss of normal rents only                     coverage.
  for the shortest time needed to make the
  dwelling habitable. This coverage
                                 age will pay          2.   Emergency RepRepairs After Loss.
  loss of normal rents at a monthly rate of                 We will pay any actual, reason-
  one-twelfth of the Amount unt of Insurance                able and nnecessary expenses for
  shown on the Declarations
                         larations Page for                 emerge
                                                            emergency    repairs incurred in
  Coverage D. The total
                     otal amount we will pay                prot
                                                            protecting your insured property
  will not exceed the Amount of Insurance                   fr
                                                            from   further damage if the
  described onn the Declarations Page for                   damage was caused by an Insured
  Coverage D.                                               Peril.
  If damage
         mage caused by an Insured Peril                    This coverage is included in and
  occurs
       urs at a neighboring premises, we will               does not change the Amount
  pay any resulting loss of normal rents ffor               of Insurance that applies to the
  upp to two weeks if civil authorities proh
                                        prohibit            property being protected.
  occupancy
        pancy of your dwelling.                             No deductible will apply to this
  We will not pay expenses due to cancel-                   coverage.
  lation of any lease or w
                         written or oral
                                                       3.   Emergency        Removal       of
  agreement.
                                                            Personal Property. We cover
  The periods of time
                    me aare not limited by the              your insured personal property
  expiration of this policy.                                against direct loss from any
  No deductible will apply to this coverage.                cause not excluded in SECTION
                                                            I — Exclusions while the prop-
  Your Additional Coverages                                 erty is being removed from your
  When you buy Coverage A — Dwelling,                       premises because it is in danger
  we automatically include the following                    of loss by an Insured Peril. We
  additional coverages:                                     provide this coverage for no more

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           than 30 days while the property is                 No deductible will apply to this
           removed from your premises.                        coverage.
           This coverage is included in and
           does not change the Amount                SECTION I — Insured
           of Insurance that applies to the          Perils
           property being removed.
                                                     We insure risk of direct, sudden and
           No deductible will apply to this
                                                     accidental physical loss to the property
           coverage.
                                                     described in Coverage A — Dwelling and
      4.   Fire     Department       Service         Coverage B — Otherr Stru
                                                                          Structures unless the
           Charge (not applicable in                 loss is excluded elsewhere in this policy.
           Arizona, New Jersey and New               The loss mustt occur during the Policy
           Mexico). We will pay up to $500           Period shown
                                                                wn on the Declarations Page.
           for actual fire department charges
                                                     We insure
                                                             ure risk of direct, sudden and aacci-
           incurred by you when the fire
                                                     dental
                                                          al physical loss to property insured by
           department is called to save or
                                                     Coverage
                                                       overage C — Personal Property. The los loss
           protect insured property from an
                                                     must occur during the Policy Period sho
                                                                                           shown
           Insured Peril.
                                                     on the Declarations Page and be caused
                                                                                        cau     by
           No deductible will apply to this
                                        his          any of the following perils unles
                                                                                   unless the loss
           coverage.                                 is excluded elsewhere in this policy.
                                                                                    p
      5.   Trees, Shrubs, Plants     nts and             1.   Fire.
           Lawns. We will pay    y up to 5% of
                                                         2.   Lightning.
           the Amount of Insurance
                              nsurance shown
           for Coverage A — Dwelling for                 3.   Windstorm or Hail.
                                                              Windsto
           loss to trees,
                        s, shrubs, plants and                 But we do not insure loss to signs,
           lawns on your premises. We will                    radio
                                                              r       or television antennas,
           not pay
                 ay more than $500 for any                    aerials or satellite dishes, posi-
           onee tree, plant or shrub including                tioners, receivers, descramblers,
           the cost of removing the debris of                 including lead-in wiring, masts
           the insured item.                                  or towers, and related satellite
           Coverage applies to loss caused                    dish equipment when any of these
           by the perils of fire or lightning,
                                      lightni                 types of property are located
           explosion, riot or civil co  commo-                outdoors.
           tion, aircraft, vehicles nnot owned
                                                         4.   Explosion.
           or operated by any resident of
           yourr premises, vandalism or                  5.   Riot or civil commotion, includ-
           malicious  mischief or burglars.
                 ious misch                                   ing direct loss from pillage and
                                                              looting during or immediately
           But we do not insure trees, plants,
                                                              after the riot and at the site of the
           shrubs or portions of lawn:
                                                              riot or civil commotion.
           a.   Grown for business pur-
                                                         6.   Aircraft, including self-propelled
                poses; or
                                                              missiles and spacecraft.
           b.   Located more than 150 feet
                                                         7.   Vehicles.
                from the dwelling described
                on the Declarations Page.                8.   Smoke or smudge.

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           But we do not insure loss caused                  days immediately before the
           by or consisting of:                              loss occurs. A dwelling or
           a.   The gradual accumulation of                  other structure being con-
                any oily or greasy substance                 structed, altered or repaired
                or film; or                                  is not considered vacant.
           b.   Smoke from agricultural or               These exceptions do not apply
                commercial operations.                   to ensuing loss caused by fire or
                                                         explosion.
      9.   Vandalism or malicious mischief,
           meaning the intentional and               11. Falling Objects.
           willful damage or destruction of              But we do not ins
                                                                        insure loss to:
           property by anyone other than the                   roperty within the dwelling
                                                         a. Property
           owner of the property.                            or other structure uunless the
           But we do not insure:                             falling object first da
                                                                                   damages
                                                             the exterior of the dwell
                                                                                   dwelling
           a.   Any loss to personal prop-
                                                             or other structures;
                erty or materials and sup-
                plies for use in construction,                                    televisio
                                                         b. Outdoor radio and television
                arising out of its theft or                  antennas, aerials, sat satellite
                other unlawful taking from om                dishes, positioners, receiv-
                your premises;                               ers, descramblers including
                                                                       wirin
                                                             lead-in wiring,     masts or
           b.                     y, result-
                Any loss caused by,
                                                             towers and related satellite
                               ibuted to or
                ing from, contributed
                                                             dish equi
                                                                   equipment when any of
                aggravated by intentional
                                                             these types of property are
                         ny tenant or any
                acts of any
                                                             loc
                                                             located outdoors; or
                roomers and boarders of
                your premises; or                        c. The falling object.
           c.   Any loss to personal prop-           12. W
                                                         Weight of ice, snow or sleet
                erty if the dwelling has been            which causes a loss to property
                vacant for more than 30 con-             contained in the dwelling and any
                secutive days immediately                other structure described on the
                before the loss. A dwelling              Declarations Page.
                being constructed, alter
                                       altered       13. Tearing apart, cracking, burning
                or repaired is not consid
                                   considered            or bulging of a steam or hot water
                vacant.                                  heating system, air conditioning
           These exceptions ddo not apply                system, automatic fire protective
           to ensuing loss ca
                           caused by fire or             sprinkler system, or appliance for
                 ion.
           explosion.                                    heating water.

                   ed by burglars.
      10. Loss caused                                    But we do not insure loss which
                                                         is caused by or results from freez-
           But we do not insure:                         ing except as provided in the peril
           a.   Theft of property; or                    of freezing.
           b.   Loss caused by burglars to           14. Freezing of plumbing, heating, or
                property on your premises if             air conditioning systems, auto-
                the dwelling has been vacant             matic fire protective sprinkler
                for more than 30 consecutive             systems or domestic appliances,

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           but only if you have used reason-              any of you or performed at any of
           able care to:                                  your direction.
           a.   Maintain heat in the dwell-          2.   Loss caused by, consisting of or
                ing or other structure; or                increased by the enforcement of
                                                          any governmental requirement
           b.   Shut off the water supply and
                                                          regulating:
                drain the systems and appli-
                ances of water.                           a.   Construction;
      15. Discharge, release or overflow                  b.   Confiscation;
          of water or steam from plumb-                   c.   Repair;
          ing, heating, or air conditioning               d.     molition;
                                                               Demolition;
          systems, automatic fire protective
                                                          e.   Sale;
          sprinkler systems or domestic
          appliances.                                     f.   Occupancy;
           But we do not insure loss:                     g.   Seizure;
                                                          h.   Renovation; or
           a.   To the appliances or systems;
                                                          i.   Remodeling.
           b.   Caused by accidental dis-
                charge or overflow which  ch              But we do insure loss arising
                occurs off your premises;
                                      es; or              out of a governmental action to
                                                          prevent the spread of fire pro-
           c.   Caused by or resulting
                                     ting from            vided that a los
                                                                        loss caused by fire
                freezing except as provided                       otherw
                                                          would otherwise    be insured by
                in the peril of freezing.                 this policy.
           For purposes of this peril, plumb-        3.         ca
                                                          Loss caused  by an illegal activity,
           ing systemss do not include sumps              trad or business being conducted
                                                          trade
           or sumpmp pumps and related                    w or without your knowledge
                                                          with
           equipment
                pment and piping.                         by any of you or any resident of
      16. Power surge from artifi    ficially             your premises whether or not the
          generated electrical current.                   person conducting the activity,
                                                          trade, or business is convicted by
           We do not insure loss to a tube,               a criminal court.
           transistor or similar electronic
                                  electron
           parts of computers, applia
                                 appliances          4.   Loss caused by war (whether
           and home entertainment units.                  declared or undeclared), includ-
                                                          ing civil war, insurrection, rebel-
                                                          lion or revolution.
  SECTION
       ON I — Exclusions
              Exc
                                                     5.   Loss caused by:
  We do not insure  re lloss caused directly              a.   The actual, alleged or threat-
  or indirectly by any of the following                        ened discharge, dispersal,
  regardless of any other cause or event con-                  seepage, migration, release
  tributing concurrently or in any sequence                    or escape of pollutants.
  to the loss:                                            b.   Loss, cost or expense from
      1.   Loss of or to any property other-                   any governmental direction
           wise insured by this policy if that                 or request that any of you
           loss is intentionally caused by                     test for, monitor, clean up,

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                remove, contain, treat, detox-        10. Loss caused by vandalism, bur-
                ify or neutralize pollutants.             glary, malicious mischief, theft
      6.   Loss caused by volcanic eruption.              or any other unlawful taking of
                                                          property:
      7.   Loss caused by:
           a.   Flood water, surface water,               a.   By any tenant or any roomers
                waves, tidal water, tidal                      and boarders of your prem-
                waves, storm surge, tsunami                    ises; or
                or overflow of a body of                  b.   If the dwelling has been
                water or spray from any of                             fo more than 30
                                                               vacant for
                these whether or not driven                         ecutive days immedi-
                                                               consecutive
                by wind;                                         ely preceding the loss. A
                                                               ately
           b.   Water or sewage which backs                                   con
                                                               dwelling being constructed,
                up through sewers or drains                    altered or repaired is not
                or which overflows from a                      considered vacant.
                sump; or                                  This exclusion does not apply
           c.   Water below the surface of                to ensuing loss caused by fi
                                                                                    fire
                                                                                       re or
                the ground regardless of its              explosion.
                source. This includes water  er       11. Loss caused by breakag
                                                                          breakage of glass
                which exerts pressure on or               and safety glazing materials if
                flows, seeps or leaks through             the dwelling has bbeen vacant for
                any part of the dwelling or               more than 30 consecutive days
                other structures,s, foundation,           immediately preceding the loss.
                             riveway or swim-
                sidewalk, driveway                        A dwell
                                                              dwelling being constructed,
                         ol.
                ming pool.                                altered or repaired is not consid-
                     usion applies whether or
           This exclusion                                 ere vacant.
                                                          ered
                  re was widespread damage
           not there
                                                      12
                                                      12. Loss caused by wind, hail, ice or
           and whether or not it was caused
                                                          snow to outdoor radio and televi-
           by a human activity or an act of
                                                          sion antennas, satellite dishes,
           nature.
                                                          aerials, positioners, receivers,
           This exclusion does not apply                  descramblers, including lead-in
           to ensuing loss caused by fire
                                     fire or              wiring, masts or towers, and
           explosion.                                     related satellite dish equipment
      8.   Loss caused by freezing
                           freezing, thawing,             when any of these types of prop-
           pressure or weight of water or                 erty are located outdoors.
           ice or snow, whet
                          whether driven by           13. Loss caused by:
           wind or not, to a fence, pavement,
                   wim
           patio, swimming       pool, septic             a.   Freezing     of    plumbing,
           tank, foundation, retaining wall,                   heating or air conditioning
           bulkhead, pier, wharf or dock.                      systems, fire protective
                                                               sprinkler systems or domes-
      9.   Loss caused by any business
                                                               tic appliances; or
           activity being conducted with or
           without your knowledge by any                  b.   Freezing of sumps or sump
           of you or any resident of your                      pumps and related equip-
           premises.                                           ment and piping; or

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           c.   Discharge,   leakage   or                      (3) Materials used in con-
                overflow from the systems                          struction or repair; or
                or appliances caused by                        (4) Maintenance;
                freezing.
                                                               of any property, including
           This exclusion does not apply if
                                                               but not limited to, land,
           you have taken reasonable care
                                                               structures, or improvements
           to:
                                                               of any kind, whether on or
           a.   Maintain heat in the dwell-                    off your premises.
                ing or other structure; or
                                                          c.         er co
                                                               Weather   conditions, includ-
           b.   Shut off the water supply and                  ing, but not li
                                                                            limited to, heat,
                drain the systems and appli-                    old, rain, ice, ssnow, sleet,
                                                               cold,
                ances of water.                                              drough
                                                               wind, hail or drought.
      14. Loss caused by theft of materials
                                                          This exclusion applies only if
          and supplies for use in the con-
                                                          there is another cause of loss th
                                                                                         that
          struction, alteration or repair of
                                                          is excluded by this policy.
          the dwelling or other structures.
      15. Loss caused by earth movement.                  This exclusion does not aapply
                                                          to ensuing loss caused by fire or
           This exclusion does not apply ply              explosion.
           to ensuing loss caused by fire or
           explosion.                                 18. Loss caused by:
                            uclear reac-
      16. Loss caused by nuclear                          a.   Wear and tear, marring or
          tion, radiation or radioactive                       scratchi
                                                               scratching,     deterioration,
          contamination.                                       rust or other corrosion;
                     usion does not apply
           This exclusion                                 b.   I
                                                               Inherent vice, latent defect,
                   ng loss caused by fire or
           to ensuing                                          mechanical breakdown;
               osion.
           explosion.                                     c.   Mold, mildew, or other fungi,
           oss caused by:
      17. Loss                                                 their secretions, and dry and
           a.   The conduct, act, failure to                   wet rot of any kind;
                act or decision of any person,            d.   Smog, smoke from agricul-
                group,     organization     oor                tural smudging or industrial
                governmental body whe  whether                 operations;
                intentional, wrongful
                             wrongful, negli-
                gent or without fau
                                 fault.                   e.   Settling, cracking, shrink-
                                                               age, bulging or expansion,
           b.   A defect, weweakness, inad-                    including resulting cracking
                equacy, faul
                        fault or unsoundness                   of pavements, patios, foun-
                in:                                            dations, walls, floors, roofs
                (1) Planning, zoning, devel-                   or ceilings; or
                    opment, surveying, sit-
                                                          f.   Birds, vermin, rodents,
                    ing;
                                                               insects or domestic animals.
                (2) Design, specifications,
                    workmanship, construc-                This exclusion does not apply to:
                    tion, grading, compac-                a.   Ensuing loss caused by fire
                    tion during construction;                  or explosion;

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           b.   Water damage caused by                         immediately before the loss and
                water that suddenly escapes                    its actual cash value immedi-
                from a plumbing, heating,                      ately after the loss;
                fire protection sprinkler or
                air conditioning system or                2.   The actual cash value of the
                appliance because of any of                    damaged part of the dwelling at
                the above; or                                  the time of the loss.
           c.   The cost of tearing out and               3.   The amount required to repair or
                replacing any part of the                      replace the dwelling.
                dwelling or other structure
                                                          4.   The Amount unt of In
                                                                                 Insurance shown
                necessary to repair the
                                                               on the Declarations Page for the
                system or appliance.
                                                                   lling.
                                                               dwelling.
                But we do not insure loss to
                the system or appliance from          We may  y make a cash settlement or rrepair
                which the water escaped.                   eplace the property with property of
                                                      or replace
                                                        ke kind and quality. We will give you
                                                      like
      19. Loss caused by continuous or
          repeated seepage or leakage of              notice of our intention within 30 days af
                                                                                             after
          water or steam from within a                we receive your proof of loss
          plumbing, heating, fire protec-tec-         We will not pay for loss con   consisting of
          tive sprinkler or air conditioning
                                      ioning                                 reductio of market
                                                      actual or perceived reduction
          system or from within an appli-             value after the damaged pproperty has been
          ance which occurs over a period             replaced, restored, or rrepaired.
          of weeks, months,, or years.
                                                      The damage to th the property will reduce
           This exclusionn does not apply
                                                      the Amount of Insurance available during
           to ensuing loss caused by fire or
                                                      the policy period by the amount of the
           explosion.
                   n.
                                                      damage Your coverage will return to
                                                      damage.
                                                          A
                                                      the Amount    of Insurance shown on the
  SECTION
       ON I — Our
                                                      De
                                                      Declarations  Page upon completion of the
  Payment
     ment Methods
                                                      repairs or replacements.
  Coverage
   overage A — Dwelling                               Coverage B — Other Structures
  Total Loss Payment Method                           Coverage C — Personal Property
  A total
       al loss occurs when the dwdwelling is          The amount we pay for loss to the other
  damaged d beyond reasonable re
                              repair.                 structures and personal property will be
  When a totall loss occurs, your
                             y    loss will be        the lowest of:
  equal to the Amount
                  mount of Insurance shown                1.   The difference between the
  on the Declarationss P
                       Page.                                   actual cash value of the property
  Partial Loss Payment Method                                  immediately before the loss and
  When a partial loss occurs, the amount                       its actual cash value immedi-
  we pay for loss to the dwelling will be the                  ately after the loss;
  lowest of:                                              2.   The actual cash value of the lost
      1.   The difference between the                          or damaged part of the property
           actual cash value of the dwelling                   at the time of the loss;

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       3.   The amount required to repair                 Glass Replacement
            or replace the lost or damaged                We will pay for loss to glass caused by
            property; or                                  an Insured Peril on the basis of replace-
       4.   The Amount of Insurance shown                 ment with safety glazing materials when
            on the Declarations Page.                     required by law.
  We may make a cash settlement and take                  Deductible
  all or part of the property at its appraised
                                                          No deductible will be applied to Coverage
  or agreed upon value, or repair or replace
                                                          A - Dwelling in the event of a total loss
  the property with property of like kind
                                                          unless stated otherwise
                                                                              wise in this policy. All
  and quality. We will give you notice of our
                                                          other losses will be subject tto the deduct-
  intention within 30 days after we receive
                                                          ible shown in this policy.
  your proof of loss.
  We will not pay for loss consisting of                  SECTION
                                                              TION II — Your
  actual or perceived reduction of market                 Liability
                                                            ability Coverages
  value after the damaged property has been
  replaced, restored, or repaired.                        Coverage F — Premises Liability
                                                                                Liabil
  The damage to the property will reducee                 If a claim is made or a suit is brought
  the Amount of Insurance available byy the                                       because of bodily
                                                          against you for damages becaus
                                    age will
  amount of the damage. Your coverage                     injury or property damage caused by an
  return to the Amount of Insurancece shown               accident on your premises,
                                                                            premise we will:
  on the Declarations Page upon n completion
                             nts.
  of the repairs or replacements.                             1.   Pay up to ththe Limit of Liability
                                                                   shown on the Declarations Page
  Payment Methods
                s — Specifi
                    Specific
                         fic                                       for the damages for which you are
  Losses                                                           legally
                                                                   leg     liable; and
  Pairs and Setss                                             2.   Provide a defense at our expense
                                                                   by attorneys of our choice.
  In case of loss to a part of a pair, set, series
  of objects,
         cts, pieces or panels, either interior           We may make any investigations and
                                                          W
  or exterior,
      xterior, we may:                                    settle any claims or suits that we decide
                                                          appropriate. Our obligation to defend any
       1.   Repair or replace any part to                 claim or suit ends when the amount we
            restore the pair or set to its value          pay in settlement or judgment equals the
            before the loss;                              Limit of Liability. Coverage F — Premises
       2.   Pay the difference between
                                  b          the          Liability applies to bodily injury and
            actual       value of the pair or
                ual cash valu                             property damage only if the bodily
            set before
                  fore and after the loss; or             injury or property damage occurs on
                                                          your premises and during the Policy
       3.   Pay the reasonable cost of pro-
                                                          Period shown on the Declarations Page.
            viding a substitute to match the
            remainder of the pair or set as               Coverage G — Medical Payments
            closely as possible.                          To Others
  We will not be obligated to repair or replace           We will pay for you up to the Limit of
  the entire pair, set, series of objects, pieces         Liability shown on the Declarations Page,
  or panels when a part is lost or damaged.               the actual, necessary and reasonable

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  medical expenses incurred or medically                  4.   Prejudgment interest awarded
  determined within three years from the                       against you on that part of the
  date of an accident causing bodily injury.                   judgment we pay; and
  Coverage G — Medical Payments To
                                                          5.   Interest on the entire entered
  Others applies only to accidents that occur
                                                               judgment until we pay, formally
  during the Policy Period shown on the
                                                               offer, or deposit in court that part
  Declarations Page.
                                                               of the judgment which does not
  Medical Payments To Others applies only                      exceed the limit of our liability
  to a person on your premises with your                       on that judgment.
                                                                            me
  permission.
                                                      First Aid Expenses
                                                                  penses
  But Medical Payments To Others does not
  apply to:                                           We will payy your expenses for first aid to
                                                      others at the scene of an accident which
      1.   Any tenant residing on your                occurss on your premises. We will not ppay
           premises; or                               for first aid to any of you.
      2.   Any other person regularly resid-
           ing on your premises.                      SECTION II — Exclusio
                                                                   Exclusions
  A Medical Payments To Others payment ment
  is not an admission of liability by any of          Coverage F — Premises
                                                                   Premise Liability
  you or us.                                          Coverage G — Medical
                                                                   Medic
                                                      Payments To Othe
                                                                  Others
  SECTION II — Your
                 our                                  We will not pay for bodily injury or prop-
               verages
  Additional Coverages                                erty damage:
                                                          1.   Resulting
                                                               Re        from any act or omis-
  Claim Expenses
            nses                                               sion which is intended by any of
  We will pay:
            y:                                                 you to cause any harm or that any
                                                               of you could reasonably expect
      1.   Expenses incurred by us and                         to cause harm. This exclusion
           costs taxed against you in any                      applies whether or not any of you:
           suit we defend;
                                                               a.   Intended or expected the
      2.   Premiums on bonds required
                                 requi      in
                                                                    result of his or her omission
           a suit defended by us, bbut not for
                                                                    so long as the resulting injury
           bond amounts great
                           greater than the
                                                                    or damage was a natural or
           Limit
             mit of Liability for Premises
                                                                    foreseeable consequence of
           Liability.
                  ity.
                                                                    the intended act or omission;
                 We are not obligated to apply
                                                               b.   Was under the influence of
                 for or furnish any bonds;
                                                                    alcohol or narcotics;
      3.   Expenses incurred by you at our
                                                               c.   Was insane; or
           request, including up to $100 a
           day actual loss of earnings, for                    d.   Is deemed not to have had
           assisting us in the investigation                        the mental capacity to form
           or defense of any claim or suit;                         the legal intent to commit the

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                act or omission causing                     watercraft or trailer the use of
                injury or damage.                           which is not insured in SECTION
           But this exclusion does not apply                II — Your Liability Coverages.
           to bodily injury resulting from             8.   Arising out of:
           the use of reasonable force to
                                                            a.   The negligent supervision by
           protect persons or property.
                                                                 any of you of any person;
      2.   Arising out of business pursuits
                                                            b.   Any liability by statute
           of any of you.
                                                                 imposed on any of you; or
      3.   Arising out of the rendering or
           failing to render professional                   c.   Any     liab
                                                                         liability   assumed
           services.                                                ough an unw
                                                                 through    unwritten or writ-
                                                                 ten agreement by aany of you;
      4.   Arising out of the actual, alleged
           or threatened discharge, dis-                    with regard to the ownership,
                                                                                  own
           persal, release, escape of, or the               operation, maintenance or use of
           ingestion, inhalation or absorp-                                           vehicle
                                                            any aircraft, land motor vehicle,
           tion of pollutants.                                                        vehicle
                                                            recreational land motor vehicle,
                                                            watercraft or trailer that is not
      5.   Arising out of loss, cost or
                                                            insured in SECTION II — Your
           expense from any governmental    al
                                                            Liability Coverages.
           direction or request that youu test
           for, monitor, clean up, remove,             9.   Arising directly or indirectly out
                                 fy or neu-
           contain, treat, detoxify                         of war, hostile or warlike action
           tralize pollutants.                              in time of pe
                                                                       peace or war, whether
      6.   Arising out off the ownership,                   or not ddeclared, riot or civil
           operation, maintenance, use,                     disorde
                                                            disorder.
           loading orr unloading of:                   10. Ari
                                                           Arising out of the transmission of
           a.   An aircraft;                               or exposure to a communicable
                                                           disease by any of you, your resi-
           b.   A land motor vehicle;
                                                           dence employee, any tenant, any
           c.   A recreational land motor                  other resident of your tenant’s
                vehicle;                                   dwelling unit, or guests.
           d.   A watercraft; or                       11. Arising out of child care services
           e.   Trailers.                                  provided by a fee by or at the
           But this exclusion does nnot apply              direction of:
           to bodily injury ari arising out of              a.   Any of you;
           the ownership, mai
                            maintenance, use,
                                                            b.   Any of your employees; or
                 ng or unl
           loading      unloading of motor
           vehicles or cconveyances that are                c.   Any other person actually or
           not subject to motor vehicle regis-                   apparently acting on behalf
           tration and that are used solely for                  of any of you.
           maintenance of your premises.               12. Arising out of any sexual act, sex-
      7.   Arising out of the entrustment                  ual molestation, corporal punish-
           by any of you to any person of                  ment, or physical or mental abuse
           any aircraft, land motor vehicle,               by any of you, your residence
           recreational land motor vehicle,                employee, any tenant, any other

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           resident of your tenant’s dwelling                     damages because of the
           unit, or guests.                                       injury.
      13. Arising out of the use, sale,                  18. Resulting from or caused by
          manufacture, distribution, deliv-                  the presence of mold, mildew,
          ery, transfer or possession of any                 or other fungi, their secretions,
          illegal substance or a controlled                  and dry and wet rot of any kind
          substance as defined by federal or                 regardless of the cause, condition
          state law by any of you, your resi-                or loss that led to their formation
          dence employee, your roomers or                    or growth.
          boarders, any tenant, any other                These exclusions    apply also to bodily
                                                                          ns app
          residents of your tenant’s dwelling            injury or property dam  damage arising
          unit, or guests. Such substances               out of thee activities of any ppersons or
          include, by way of example, but                organizations                 manage or
                                                               izations you hired to man
          are not limited to: cocaine, LSD,              maintain
                                                            intain your premises.
          methamphetamines, marijuana
          and all narcotic drugs.                    Coverage
                                                      overage F - Premises Liability
      14. Arising out of nuclear reac-               We will not pay for bodily injury or prop-
                                                                                          pro
          tion, radiation or radioactivee            erty damage for:
          contamination.                                 1.   Liability assumed in an
                                                                                   any contract
                                                              or agreement.
      15. Arising out of the selling, serving
          or giving of an alcoholicc beverage            2.             property owned, sold,
                                                              Damage to prope
          by any of you:                                      rented to oth
                                                                        others, abandoned or
                                                              given away by any of you.
           a.   To a minor;;
                                                         3.   Damage
                                                              Damag to property rented to,
           b.          erson under the influ-
                To a person              flu-
                                       infl                   occupied
                                                              occu      or used by any of you
                encee of alcohol; or                          in your care, except property
           c.   Which causes or contributes                   damage caused by fire, smoke or
                to the intoxication of any                    explosion.
                person.                                  4.   Any claim or legal action asserted
      16. To any of you.                                      against any of you by any tenant
                                                              or tenant association, corpora-
      17. To an employee of any of yyou                       tion or community regarding the
          arising out of and in the ccourse                   manner in which your premises
          of employment by any of you                         is managed or operated.
          or consequential inj injuries to a
             ouse, child, parent,
          spouse,          par     brother or        Policy Conditions
          sister of the inju
                        injured employee.
                    us
           This exclusion applies:                       1.   Insurable Interest, Amount of
                                                              Insurance and Limits of Liabil-
           a.   Whether you may be liable                     ity. Regardless of the number of
                as an employer or in any                      persons or organizations who
                other capacity; and                           have an interest in the insured
           b.   To any obligation to share                    property, we will not be liable
                damages with or repay                         in any one loss for more than the
                someone else who must pay                     lesser of:

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           a.   The interest of the person or                number, how the loss happened,
                organization insured; or                     the extent of the damages or inju-
           b.   The applicable Amount of                     ries, names of witnesses and all
                Insurance.                                   other pertinent facts. You must
                                                             promptly send us any demand,
           The Limit of Liability for Cover-                 notice, summons or other legal
           age F — Premises Liability will                   papers you receive.
           not exceed the limit shown on the
                                                             If we need other information to
           Declarations Page regardless of
                                                             investigate the loss, we will ask
           the number of people insured or
                                                             you for it. We may require this
           claims made.
                                                                      ion in writ
                                                             information     writing.
           The insuring of more than one
                                                                  ou have a loss, you must
                                                             If you
           person or organization by this
                                                               otect the dwelling, othe
                                                             protect                other struc-
           policy does not increase the
                                                            tures or personal property from
           Amounts of Insurance.
                                                            any further damage. If you fa    fail
      2.   Joint Obligations. The terms of                  to do so, any further damage will
           this policy impose joint obliga-                 not be insured by this policy.
           tions on each and every one of                   We may require that you submit
           you. This means that the respon- on-             to us a notarized stateme
                                                                               statement of loss.
           sibilities, acts and failures to act             That statement must bbe submitted
           of any of you will be binding                    within 90 days of our request that
           upon all of you.                                 you do so. You may be required
      3.   Concealment or Fraud. The                        to show us the
                                                                         t damaged property
                           ill be void whether
           entire policy will                               and subm
                                                                  submit to examination under
                        er a loss or claim re-
           before or after                                  oath. You will be required to
           lating to this insurance if any of               coo
                                                             cooperate with us in our effort to
           you:                                             iinvestigate the accident or loss,
           a.   Intentionally conceal or mis-                settle any claims against you and
                represent any material fact or               defend you. If you fail to cooper-
                circumstance;                                ate, we have the right to deny you
                                                             coverage in this policy.
           b.   Engage in fraudulent con
                                     con-
                                                             You may not, except at your
                duct; or
                                                             own cost, voluntarily make any
           c.   Make false statements
                           statements;                       payment, assume any obligation
      4.   What to Do When You   Y Have a                    or incur any expenses other than
              ss. You or someone
           Loss.           som       on your                 First Aid Expenses to others or
           behalff must promptly
                          pr        report to                Emergency Repairs After Loss.
                    ce an
           the police  any theft, robbery, or                We will make settlement within
           burglary loss after you discover                  30 days after we receive an
           the loss.                                         acceptable proof of loss from you
           In the event of a loss or accident,               and the amount of loss is deter-
           you or someone on your behalf                     mined as provided in this policy.
           must notify us at once. The quick-          5.   Appraisals. If you and we fail to
           est way is to phone your agent or                agree on the amount of the loss,
           us. Please give your name, policy                then both you and we have the

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           right to select a competent and                        the limits that apply in this
           disinterested appraiser within                         policy.
           20 days from the day of dis-
                                                             c.   SECTION I — Your Prop-
           agreement. The appraisers will
                                                                  erty Coverages
           determine the amount of the
           loss. If they do not agree, then                       SECTION II — Your Liabil-
           the appraisers will choose an                          ity Coverages
           umpire. Then each appraiser will
                                                                  If at the time of loss or acci-
           submit his amount of the loss to
                                                                  dent, there is other insurance
           the umpire selected by them or
                                                                  in the name of a corporation
           by a court having jurisdiction if
           the appraisers cannot agree upon                       or association of property
           an umpire. The agreement of any                        owners insuring the same
           two will determine the amount of                       property insured by this
           loss for damage to your property.                      policy, this insurance will
           You pay your appraiser and we                          be excess over the amoun
                                                                                         amount
           pay our appraiser. You and we                                                    othe
                                                                  recoverable under such other
           share equally the expenses of the                      insurance.
           umpire and all other expenses of             7.                      Recove From
                                                             Our Right to Recover
           the appraisals.                                   Others. After we have paid
                                       raisal be
           In no event will an appraisal                     a claim, except for Medical
           used for the purposee of inter-                   Payments To O    Others, we have
           preting any policy   cy provision,                the right to rrecover the payment
                             usation or deter-
           determining causation                                   anyo who may be held
                                                             from anyone
           mining whetherher any item or loss                respons
                                                             responsible    for the loss. You
           is insured by this policy. If there               may waive your rights to recover
                   ppraisal, we still retain the
           is an appraisal,                                  a
                                                             against  another person for loss
           rightt to deny the claim.                         involving the property insured by
                                                             this policy. This waiver must be
      6.   Other Insurance.
                                                             in writing prior to the date of loss.
           a.   SECTION I — Your Prop-
                                                        8.   Legal Action Against Us. You
                erty Coverages
                                                             may not bring legal action against
                If both this and other in insur-             us concerning this policy unless
                ance apply to a loss, we will                you have fully complied with all
                pay our share. Our share will                of the policy terms. If you and we
                be the proportio
                         proportionate amount                have failed to agree on the amount
                that this insinsurance bears to              of the loss, then you may not
                thee total aamount of all appli-             bring legal action against us until
                       in
                cable insurance.                             you have submitted and resolved
           b.   SECTION II — Your Liabil-                    that dispute through appraisal as
                ity Coverages                                described in Condition 5. Suit
                                                             must be brought within one year
                This insurance is excess over
                                                             after the loss occurs.
                other valid insurance except
                insurance written specifi-              9.   Mortgagee. An insured loss will
                cally to insure excess over                  be payable to the mortgagee(s)

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           named on the Declarations Page,                flict with any governmental
           to the extent of their interest and            requirements at the time your
           in their order of precedence. All              policy is written, it is automati-
           provisions of this policy apply to             cally changed to conform to them.
           these mortgagees.
                                                          If we broaden the coverages pro-
           We will protect the mortgagee’s                vided by this edition of the policy
           interest in an insured building                without additional premium
           or structure in the event of an                charges during the Policy Period,
           increase in hazard, intentional                we will give yyou the benefit of
           or criminal acts of any of you,                          dened ccoverages.
                                                          these broadened
           neglect by any of you to take all
           reasonable steps to save and pre-              The only other way this policy
           serve property after an insured                cann be changed is if we change
           loss, a change in ownership, or                it in writing, which will be made
           foreclosure if the mortgagee has               a part of this policy. Any chang
                                                                                     change
           no knowledge of these conditions.              in your premium will be made at
                                                          this time.
           The mortgagee will:
                                                          If your policy is renewed, we will
           a.                              hin
                 Furnish proof of loss within             furnish you any form revisions
                 60 days after notice of the
                                                          applicable to your policy.
                                                                              p
                                     ail to do
                 loss if any of you fail
                 so.                                  11. Bankruptcy. If you become
                                                          bankrupt or insolvent, we will
           b.    Pay upon demand any
                                                          still insur
                                                                insure you for the period of
                 premium due if any of you
                                                          time yyour premium is paid.
                 fail to do so.
                                                      12. Tr
                                                          Transfer of This Policy. You
           c.      otify us of any change of
                 Notify
                                                          may not transfer any interest in
                 ownership or occupancy or
                 any increase in hazard of                this policy without our written
                 which the mortgagee has                  consent. If you die, this policy
                 knowledge.                               will continue in force for the
                                                          remainder of the Policy Period
           d.    Give us the mortgagee’s rig
                                         right            shown on the Declarations Page.
                 of recovery against any party            This policy will continue for
                 liable for loss.                         other members of your family
           ee.   After a loss, and at our                 entitled to coverage at the time of
                 option, permit
                         perm us to satisfy               your death or for your legal rep-
                 thee mortg
                      mortgage requirements               resentative, but only with respect
                 and rec
                      receive full transfer of            to the property insured by this
                 the mortgage.                            policy at the time of death.
           This mortgagee interest provision          13. Abandoned Property. We are
           will apply to any trustee named                not obliged to accept abandoned
           in this policy.                                property.
      10. Changes in Your Policy. If any              14. No Benefit to Bailee. This insur-
          provision of this policy is in con-             ance will not benefit any person or

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           organization who may be caring                    If you want to change the
           for or handling your property for                 amounts of insurance, you may
           a fee.                                            do so by contacting your insur-
                                                             ance representative.
      15. Inspections and Consumer
          Reports. We are permitted, but            This policy is signed at the Home Office
          not obligated, to inspect your            by our President and Secretary. It is coun-
          property and/or order consumer            tersigned on the Declarations Page by our
                                                    authorized representative(s) if required.
          reports. Our inspection does not
          warrant that the property is safe
          or healthful or in compliance
          with any law, rule, regulation, or
          building code.                                         S. J. BOSHOVEN
                                                                     President
      16. Your Duties to Maintain Policy
          Amounts of Insurance. It is
          your responsibility to maintain
          adequate amounts of insurance                         MARTIN R. BROWN
          on your dwelling, other structures                       Secretary
          and personal property.




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